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                                                                         Jake D. Becker, Esquire
                                                                          Voice: (610) 430-8000
                                                                            Fax: (610) 692-0877
                                                                     jbecker@lambmcerlane.com

                                      April 12, 2022


Via ECF
The Honorable Nitza I. Quiñones Alejandro
United States District Court
Eastern District of Pennsylvania
601 Market Street
Philadelphia, PA 19106

               Re:    Cookie A. Magee v. County of Delaware, et al.
                      Civil Action No. 2020-cv-2513

Dear Judge Alejandro:

        My firm represents Plaintiff, Cookie A. Magee, in the above-referenced action.
Defendants, the County of Delaware and Fair Acres Geriatric Center are represented Andrew D.
La Fiura, Esquire and Morgan D. Schwartz, Esquire. I am pleased to inform you that the parties
have reached a full settlement of all claims in Civil Action No. 20-2513. Please accept this letter
as notice that an Order pursuant to Local Rule 41.1(b) can be issued.

       Please let me know if Your Honor requires any additional information.


                                                       Very Truly Yours,

                                                       LAMB McERLANE PC


                                             By:       _____________________
                                                       Jake D. Becker

cc:    All counsel of record (via ECF)
